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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

 

 

| Original Plan
[m] Ninth Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
| Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Gerardo Arias JOINT DEBTOR: CASE NO.: 19-26046-AJC
SS#: xxx-xx- 2836 SS#: xxx-xx-
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section III, which may result in a

partial payment or no payment at all to the secured creditor

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
out in Section III

Nonstandard provisions, set out in Section IX [m] Included [| Not included
IL. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

{m] Included [_] Not included

 

[_] Included [m] Not included

 

 

 

 

 

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

1. $442.85 formonths 1 to 22 ;

2. $2,743.10 for months 23 to 23 ;

3. $1,331.27 for months 24 to 60 ;

B. DEBTOR(S)' ATTORNEY'S FEE: CI NONE CT] PRO BONO
Total Fees: $6,000.00 Total Paid: $1,500.00 Balance Due: $4,500.00

Payable $104.76 /month (Months 1 to 22 )

Payable $137.19 /month (Months 23 to 38 )

Allowed fees under LR 2016-1(B)(2) are itemized below:
Fee application filed

 

 

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
Til. TREATMENT OF SECURED CLAIMS _ [_] NONE

A. SECURED CLAIMS: [|] NONE

[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
1. Creditor: Townhouses at Jacaranda Condo Assn Inc

 

 

 

Address: c/o Peters & Peters Arrearage/ Payoff on Petition Date
Hollywood ¢ Re oo4 Regular Payment (Maintain) $293.08 /month(Months 1 to 22 )
Regular Payment (Maintain) $645.95 /month (Months 23 to 60 )

 

 

 

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Debtor(s): Gerardo Arias Case number: 19-26046-AJC
Last 4 Digits of
Account No.: 2836
Other:
[m] Real Property Check one below for Real Property:
[m|Principal Residence [m] Escrow is included in the regular payments
[Other Real Property [|The debtor(s) will pay [_|taxes [_]insurance directly
Address of Collateral:
8233 NW 8 Street #6
Ft Lauderdale, FL 33324
[_] Personal Property/Vehicle
Description of Collateral:
2. Creditor: Cavalry SPV I, LLC
Address: POB 27288 Arrearage/ Payoff on Petition Date $688.30
Tempe, AZ 85282 Payoff (Including 0% monthly interest) $4.46 /month(Months 1 to 22 )
Last 4 Digits of Payoff (Including 0% monthly interest) $15.54 /month (Months 23 to 60 )
Account No.: 8655
Other:
[_] Real Property Check one below for Real Property:
[_ [Principal Residence [_]Escrow is included in the regular payments
[Other Real Property [_|The debtor(s) will pay [_]|taxes [_Jinsurance directly
Address of Collateral:

[m] Personal Property/Vehicle

Description of Collateral: All non-exempt personal property

 

 

3. Creditor: Townhouses at Jacaranda Condo Assn Inc - Special Assessment

 

 

 

Address: c/o Peters & Peters Arrearage/ Payoff on Petition Date $3,150.00
Holly wood Re 004 Asrears Payment (Cure) $1,320.11 /month (Months 23 to 23 )
. Asrears Payment (Cure) $49.46 /month (Months 24 to 60 )
Last 4 Digits of —TY—_ —_-
Account No.: 2836 Regular Payment (Maintain) $350.00 /month (Months 23 to 60 )
Other:
[m] Real Property Check one below for Real Property:
[m Principal Residence [m]Escrow is included in the regular payments
[_|Other Real Property [_]The debtor(s) will pay [_]taxes [_Jinsurance directly
Address of Collateral:
8233 NW 8 St #6
Ft Lauderdale, FL 33324

[_] Personal Property/Vehicle

Description of Collateral:

 

 

 

 

B. VALUATION OF COLLATERAL: [| NONE

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IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
YOU PURSUANT TO BR 7004 AND LR 3015-3.

1. REAL PROPERTY: [_] NONE

 

 

 

1. Creditor: Townhouses at Jacaranda Value of Collateral: $142,900.00 Payment
Condo Assn Inc os ‘cayment
Amount of Creditor's Lien: $35,000.00 __ | Total paid in plan: $0.00
Address: ©/o Peters & Peters —_—s ee
9900 Stirling Rd #104
Hollywood, FL 33024 Interest Rate: 0.00% ____ $0.00 _/month (Months to

 

Last 4 Digits of Account No.: 2836 Check one below:

Real Property [m] Escrow is included in the monthly

[mPrincipal Residence mortgage payment listed in this section
[_] The debtor(s) will pay

[ ]Other Real Property

taxes insurance direct]
Address of Collateral: U O y

8233 NW 8 St #6
Ft Lauderdale, FL 33324

 

 

 

 

 

 

2. VEHICLES(S): [mi] NONE

3. PERSONAL PROPERTY: [ml] NONE
C. LIEN AVOIDANCE [mi] NONE
D. SURRENDER OF COLLATERAL: [mi] NONE
E. DIRECT PAYMENTS [] NONE

Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution fom the Chapter 13 Trustee.
[m| The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

 

 

 

 

 

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
' Mercedes Benz Financial 3001 2015 Mercedes Benz 350C
Ruchmore Loan Mgmt Ser 8967 1601 NE 176 St
2. Miami, FL 33179
Select Portfolio Svcin 5932 18440 NE 20 Ave
3. Miami, FL 33179
Select Portfolio Svcin 3325 8233 NW 8 St #6
4. Ft Lauderdale, FL 33324
Wells Fargo 1768 1601 NE 176 Street
5. Miami, FL 33162
Miami Dade County Tax 0130 18440 NE 20 Ave
6. Collector Miami, FL 33179

 

IV. | TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)] [[] NONE
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: |] NONE
B. INTERNAL REVENUE SERVICE: |B] NONE
C. DOMESTIC SUPPORT OBLIGATION(S): [lm] NONE
D. OTHER: [B®] NONE
V. TREATMENT OF UNSECURED NONPRIORITY CREDITORS [-] NONE
A, Pay $137.19 /month (Months 39 to 60 )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
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B. [_] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: [mi] NONE

VI. STUDENT LOAN PROGRAM [Bi] NONE

Vil. EXECUTORY CONTRACTS AND UNEXPIRED LEASES [mg] NONE

Vill. INCOME TAX RETURNS AND REFUNDS: [m] NONE

IX. NON-STANDARD PLAN PROVISIONS |g] NONE

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

 

/s/ Gerardo Arias Debtor October 15, 2021 Joint Debtor
Gerardo Arias Date Date
/s/ Michael A Frank October 15, 2021

Attorney with permission to sign on Date

Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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